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                       UNITED STATES    DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


CONSERVATION LAW       FOUNDATION,
INC. ,
         Plaintiff,

               V.



EXXONMOBIL CORP., EXXONMOBIL              C.A.   No.   16-11950-MLW
OIL CORP., EXXONMOBIL
PIPELINE CO.,
         Defendants.




                                     ORDER


WOLF, D.J.                                                 December 3, 2018
         For the reasons explained in court on November 30, 2018, it

is hereby ORDERED that:

         1. The parties shall, by December 18, 2018, discuss with the

Environmental Protection Agency ("EPA") the status of defendants'

application to renew the National Pollutant Discharges Elimination
System Permit for the Everett Terminal, and report, jointly if
possible but individually if necessary, whether and when the EPA
is expected to act on defendants' application. They shall also
report whether they plan to file suit against the EPA—either in
this action or a separate action—pursuant to 5 U.S.C. §702 for

"fail[ure] to act in an official capacity," and if they believe

that such an action would be futile or undesirable, explain the

reasons for their position(s).
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     2. The parties shall order the transcript of the November 30,

2018 hearing on an expedited basis.

     3. The hearing on defendants' Motion to Dismiss the Amended

Complaint will resume on December 20, 2018, at 10:00 a.m.




                                        UNITED STATES DISTRICT JUDGE
